
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-08-197-CV



IN RE PHILIP KNIGHT, INDIVIDUALLY 					 &nbsp;&nbsp;RELATOR

AND AS EXECUTOR OF THE ESTATE 

OF PAUL A. KNIGHT, DECEASED	





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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator’s petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator’s petition for writ of mandamus is denied.

Relator shall pay all costs of this original proceeding, for which let execution issue.

PER CURIAM





PANEL &nbsp;B: &nbsp;MCCOY, GARDNER, and WALKER, JJ. 



DELIVERED: &nbsp;June 12, 2008 &nbsp;

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




